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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS


ANDREW CORZO, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN
SHUMATE, BRITTANY TATIANA WEAVER,
and CAMERON WILLIAMS, individually and on
behalf of all others similarly situated,

                  Plaintiffs,
      v.

BROWN UNIVERSITY, CALIFORNIA                Case No.: 1:22-cv-00125
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF
COLUMBIA UNIVERSITY IN THE CITY OF          Hon. Matthew F. Kennelly
NEW YORK, CORNELL UNIVERSITY,
TRUSTEES OF DARTMOUTH COLLEGE,
DUKE UNIVERSITY, EMORY UNIVERSITY,
GEORGETOWN UNIVERSITY, THE JOHNS
HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY,
NORTHWESTERN UNIVERSITY,
UNIVERSITY OF NOTRE DAME DU LAC,
THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY,
and YALE UNIVERSITY,

                  Defendants.


                      PLAINTIFFS’ MOTION FOR
PRELIMINARY APPROVAL OF SETTLEMENTS WITH DEFENDANTS TRUSTEES
OF DARTMOUTH COLLEGE, NORTHWESTERN UNIVERSITY, WILLIAM MARSH
     RICE UNIVERSITY, AND VANDERBILT UNIVERSITY, PROVISIONAL
CERTIFICATION OF THE PROPOSED SETTLEMENT CLASS, APPROVAL OF THE
 NOTICE PLAN, AND APPROVAL OF THE SCHEDULE FOR COMPLETING THE
                       SETTLEMENT PROCESS
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       Plaintiffs Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael Maerlender,

Brandon Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron Williams

(collectively, “Plaintiffs”), on behalf of themselves and a proposed Settlement Class, hereby

move for an order pursuant to Fed. R. Civ. P. 23:

       1.      Granting preliminary approval under Fed. R. Civ. P. 23(c)(2) and 23(e) of

settlements between Plaintiffs and the proposed Settlement Class (defined below) with the

following four Defendants: (i) Trustees of Dartmouth College (“Dartmouth”); (ii) Northwestern

University (“Northwestern”); (iii) William Marsh Rice University (“Rice”); and (iv) Vanderbilt

University (“Vanderbilt”). These four settling Defendants are collectively referred to as the

“Third Tranche Settling Universities” or “Third Tranche Settling Defendants;” these settlements

are collectively referred to as the “Third Tranche Settlements;” and the executed settlement

agreements for the Third Tranche Settling Defendants are collectively referred to as the

“Settlement Agreements” (which are attached at Exhibits 8-11 to the February 22, 2024 joint

declaration filed by Settlement Class Counsel in support of this motion (referred to as the “Feb.

22, 2024 Joint Decl.”)).

       2.      Granting Plaintiffs’ request to implement a consolidated approval process for all

settlements to date, including: (i) the University of Chicago Settlement (which the Court

preliminarily approved on September 9, 2023 (ECF No. 428)); (ii) the Second Tranche

Settlements (which the Court preliminarily approved on February 14, 2024 (ECF No. 614)); and

(iii) the Third Tranche Settlements (collectively, the “Settlements” and “Settling Defendants” or

“Settling Universities”).




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       3.       Conforming the Class Period for the Settlement Class definition applicable to the

University of Chicago Settlement Agreement and the Second Tranche Settlements to the Class

Period applicable to the Third Tranche Settlements;

       4.       Finding that the Court will likely determine that the requirements of Federal Rules

of Civil Procedure 23(a) and 23(b)(3) will be satisfied for settlement and judgment purposes

only, and thus provisionally certifying the Settlement Class as defined in the Settlement

Agreements.

       5.       Appointing Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael

Maerlender, Brandon Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron

Williams as representatives of the Settlement Class (“Class Representatives”).

       6.       Appointing Freedman Normand Friedland LLP, Gilbert Litigators & Counselors

PC, and Berger Montague PC as Settlement Class Counsel under Fed R. Civ. P. 23(g).

       7.       Directing notice to the Settlement Class be conducted pursuant to the Revised

Notice Plan (ECF No. 603-10), but using the amended long-form and summary notices

submitted with the Declaration of Steven Weisbrot, Esq. of Angeion Group LLC re Amending

the Proposed Revised Notice Plan for the Third Tranche Settlements, Feb. 20, 2024 (the “Feb.

20, 2024 Weisbrot Decl.”), at Ex. A (Amended Summary Notice ) & Ex. B (Amended Long-

Form Notice).

       8.       Preliminarily approving the Revised Plan of Allocation (ECF No. 603-9) as also

applicable to the Third Tranche Settlements.

       9.       Pursuant to 34 C.F.R. § 99.37(a), finding that mailing addresses and email

addresses in education records of current students of a Defendant constitute “directory

information” and may be disclosed, without consent, to the Settlement Claims Administrator for



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purposes of providing class notice in this litigation if (a) the Defendant has previously provided

public notice that the mailing addresses and email addresses are considered “directory

information” that may be disclosed to third parties including public notice of how students may

restrict the disclosure of such information, and (b) the student has not exercised a right to block

disclosure of current mailing addresses or email addresses (“FERPA Block”). Defendants shall

not disclose from education records mailing addresses or email addresses subject to a FERPA

Block.

         10.   Pursuant to 34 C.F.R. § 99.37(b), finding that mailing addresses and email

addresses in education records of former students of a Defendant constitute “directory

information” and may be disclosed, without consent, to the Settlement Claims Administrator for

purposes of providing class notice in this litigation, provided that each Defendant continues to

honor any valid and un-rescinded FERPA Block.

         11.   Appointing Angeion Group (“Angeion”) as Settlement Claims Administrator.

(The Court previously appointed Angeion as the Settlement Claims Administrator for the prior

preliminarily approved settlements, see ECF No. 428, at ¶ 8; ECF No. 614, at ¶ 10.)

         12.   Appointing The Huntington National Bank (“Huntington Bank”) as Escrow

Agent. (The Court previously appointed Huntington Bank as the Escrow Agent for the prior

preliminarily approved settlements, see ECF No. 428, at ¶ 9; ECF No. 614, at ¶ 11.)

         13.   Approving the Custodian/Escrow Agreement Third Tranche of Settlements, dated

Feb. 21, 2024 (the “Feb. 21, 2024 Escrow Agreement”), attached at Exhibit 12 to Feb. 22, 2024

Joint Decl., as governing the Second Tranche Settlements.




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       14.     Approving the establishment of the Settlement Fund under the Settlement

Agreements as a qualified settlement fund (“QSF”) pursuant to Internal Revenue Code Section

468B and the Treasury Regulations promulgated thereunder.

       15.     Staying of all litigation activity against the Settling Defendants on behalf of the

Settlement Class pending final approval or termination of the Settlements.

       16.     Approving the proposed schedule for the Settlements, including the scheduling of

a Fairness Hearing during which the Court will consider: (a) Plaintiffs’ request for final approval

of all Settlements and entry of a proposed order and final judgment; (b) Plaintiffs’ counsel’s

application for attorneys’ fees, reimbursement of expenses, service awards, and payment of

administrative costs; and (c) Plaintiffs’ request for the dismissal of this action only against

Settling Universities with prejudice.

       WHEREFORE, for the reasons set forth in the accompanying memorandum of law,

supporting joint declaration of Settlement Class Counsel, the declaration of the proposed

Settlement Claims Administrator, and all exhibits filed in support of this Motion, Plaintiffs

respectfully request that the Court grant this motion and enter the Preliminary Approval Order

filed herewith. The Settling Defendants do not oppose this motion.



 Dated: February 23, 2024                                   Respectfully Submitted,

 By:/s/ Robert D. Gilbert                             /s/ Edward J. Normand
 Robert D. Gilbert                                    Devin “Vel” Freedman
 Elpidio Villarreal                                   Edward J. Normand
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